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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Federal National Mortgage Association
                                             Plaintiff,
v.                                                          Case No.: 1:14−cv−04664
                                                            Honorable Andrea R. Wood
George L. Obradovich, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 2, 2018:


        MINUTE entry before the Honorable Andrea R. Wood:
Defendants/Counter−Plaintiffs Motion for extension of time to file response/reply [188] is
granted. The briefing schedules for the parties renewed motions for summary judgment by
YJM Development, Inc. [180], Safeguard Properties, LLC [184], and Fannie Mae and
Seterus [182][186] is extended as follows: responses shall be filed by 7/13/2018; replies
shall be filed by 8/3/2018. Defendants/Counter−Plaintiffs Motion for leave to file excess
pages [190] is granted. The motion presentment date of 7/3/2018 is stricken; parties need
not appear. Status hearing set for 7/12/2018 [179] remains firm. Mailed notice(ef, )




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